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 5

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     AND PLUMBING, INC. and the alleged Class
 7

 8                                 UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION

11
      ABANTE ROOTER AND PLUBMING,
12
      INC., a California corporation, individually
13    and on behalf of all others similarly situated,
                                                            Case No.
14                           Plaintiff,
                                                           CLASS ACTION COMPLAINT
15    v.
16                                                         JURY TRIAL DEMANDED
      MSC MERCHANT SERVICE CENTER,
17    LLC, a Nevada limited liability company,

18                           Defendant.

19

20
            Plaintiff Abante Rooter and Plumbing (“Plaintiff” or “Abante”) brings this Class Action
21
     Complaint and Demand for Jury Trial (“Complaint”) against Defendant MSC Merchant Service
22
     Center, LLC (“MSC”) (“Defendant”) to stop Defendant’s practice of placing auto-dialed calls to
23
     cellphone owners and to obtain redress for all persons injured by its conduct. Plaintiff, for its
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     Complaint, alleges as follows upon personal knowledge as to itself and its own acts and
25
     experiences, and, as to all other matters, upon information and belief, including investigation
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     conducted by its attorneys.
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 1                                       JURISDICTION & VENUE

 2           1.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 3   1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.,

 4   (“TCPA” or the “Act”) a federal statute. The Court also has jurisdiction under the Class Action

 5   Fairness Act, 28 U.S.C. § 1332 (“CAFA”). The alleged Class consist of over 100 persons each,

 6   there is minimal diversity, and the claims of the class members when aggregated together exceeds

 7   $5 million. Further, none of the exceptions to CAFA applies.

 8           2.       This Court has personal jurisdiction over MSC because, on information and belief,
 9   it has solicited and entered into business contracts in this District, and it made the calls at issue in

10   this case and directed such calls to cellphone owners in this District.

11           3.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because Plaintiff received the

12   unlawful calls in this District and the calls were directed to persons residing, at least in part, in

13   this District.

14                                                 PARTIES

15           4.       Plaintiff Abante is a plumbing company headquartered in Emeryville, Alameda

16   County, California.

17           5.       Defendant MSC is a limited liability company organized and existing under the

18   laws of the State of Nevada whose primary place of business and corporate headquarters is

19   located at 871 Coronado Center Drive, Suite 200, Henderson, NV 89052.
20                                COMMON FACTUAL ALLEGATIONS

21           6.       Merchant processing companies contract with businesses to provide credit card

22   and debit card processing services, including point of sale card readers and related equipment.

23           7.       Defendant MSC is a sales marketer that recruits new customers for merchant

24   processing companies via telemarketing (and potentially through other means).

25           8.       All of the calls at issue in this case were made by MSC for its own benefit and,
26   potentially, on behalf of and for the benefit of others, including potentially specific merchant

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 1   processing companies and partners.

 2          9.      Unfortunately for consumers, Defendant, in an attempt to secure new customers

 3   (and sales) and leads for the merchant processing companies, engaged in an aggressive

 4   telemarketing campaign—often stepping outside the law in the process.

 5          10.     Specifically, Defendant used an automatic telephone dialing system (“ATDS”) to

 6   make unsolicited telemarketing calls to cellphone numbers.

 7          11.     While such calls to landlines may be permitted under the Act, it is a plain violation

 8   of the TCPA, 47 U.S.C. § 227, et seq. to make such calls to cellphones. Furthermore, Defendant
 9   makes calls to cellphones after being told to stop calling.

10          12.     Notably, marketers who wish to avoid calling cellphone numbers are able to

11   segregate their calls lists to identify cellphone numbers. On information and belief, Defendant

12   failed to segregate cellphone numbers from landline numbers and, as a result, made repeated

13   unsolicited calls to the cellphones of Plaintiff and others.

14          13.     Rather than adhere to the law, Defendant place repeated calls to consumers who

15   have never provided consent (either orally or in writing) to receive such calls.

16          14.     Moreover, despite repeated attempts to request for Defendant to stop calling,

17   Defendant routinely ignore such requests and continue to place their autodialed calls.

18          15.     By making unauthorized telemarketing calls as alleged herein, Defendant has

19   caused consumers actual harm. This includes the aggravation, nuisance and invasions of privacy
20   that result from the placement and receipt of such calls, in addition to the wear and tear on their

21   telephones, consumption of battery life, lost ability to place outgoing calls and other interruption

22   in use, cellular minutes, loss of value realized for the monies consumers paid to their carriers for

23   the receipt of such calls, and other diminished use, enjoyment, value, and utility of their

24   cellphones and cellphone plans. Furthermore, Defendant made the calls knowing it trespassed

25   against and interfered with Plaintiff and the other Class members’ use and enjoyment of, and the
26   ability to access, their cellphones, including the related data, software, applications, and hardware

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 1   components.

 2            16.   Defendant knowingly made, and continues to make, repeated autodialed

 3   telemarketing calls to cellphone owners without the prior express consent of the recipients and to

 4   consumers who have asked that the calls stop. As such, Defendant not only invaded the personal

 5   privacy of Plaintiff and members of the putative Class, they also intentionally and repeatedly

 6   violated the TCPA.

 7            17.   The calls were made by or on MSC’s behalf and with its full knowledge and

 8   approval. MSC knew about the calls being made by and on its behalf, received the benefit of the
 9   calls, directed that the calls be made, and/or ratified the making of the calls.

10            18.   The TCPA was enacted to protect consumers from unsolicited telephone calls like

11   those alleged in this case. In response to Defendant’s unlawful conduct, Plaintiff files the instant

12   lawsuit and seeks an injunction requiring MSC to cease all unsolicited telephone calling activities

13   to consumers as complained of herein and an award of statutory damages to the members of the

14   Class, together with costs and reasonable attorneys’ fees.

15                            FACTS SPECIFIC TO PLAINTIFF ABANTE

16            19.   Plaintiff Abante is the owner and customary user of a cellphone number ending in

17   5154.

18            20.   This phone number has been registered on the National Do Not Call Registry since

19   February 21, 2007.
20            21.   At no time did Abante provide its cellphone number to Defendant or provide

21   Defendant, or any of Defendant’s agents, with prior express consent to call.

22            22.   Plaintiff received at least two autodialed calls to its cellphone from (628) 201-0275

23   in or around October 2018.

24            23.   Plaintiff’s agent heard a pause and click on the calls, indicative of an ATDS.

25            24.   All of the calls were made by agents or employees of MSC. MSC knew about,
26   directed, ratified, and benefitted from the calls.

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 1          25.     Prior to receiving the above-referenced calls, Plaintiff had no relationship with

 2   Defendant, had never provided its telephone number directly to Defendant, and had never

 3   requested that Defendant place calls to it or to offer it any services.

 4          26.     Simply put, Plaintiff has never provided any form of prior express consent to

 5   Defendant to place telemarketing calls to its cellphone number and has no business relationship

 6   with Defendant.

 7          27.     Defendant was, and remains, aware that the above-described telemarketing calls

 8   were made to consumers like Plaintiff never provided prior express consent to receive them.
 9          28.     Defendant made multiple calls to Plaintiff despite the fact the Plaintiff’s phone

10   number had been registered on the Do Not Call registry for well over thirty days (years, frankly)

11   at the time the calls were made.

12          29.     By making unsolicited calls as alleged herein, Defendant has caused Plaintiff and

13   members of the Class actual harm. This includes the aggravation, nuisance, and invasions of

14   privacy that result from the placement of such calls, in addition to the wear and tear on their

15   cellphones, interference with the use of their phones, consumption of battery life, loss of value

16   realized for the monies consumers paid to their wireless carriers for the receipt of such calls, and

17   the diminished use, enjoyment, value, and utility of their telephone plans. Furthermore, Defendant

18   made the calls knowing they trespassed against and interfered with Plaintiff and the other Class

19   members’ use and enjoyment of, and the ability to access, their phones, including the related data,
20   software, and hardware components.

21          30.     To redress these injuries, Plaintiff, on behalf of itself and the Class of similarly

22   situated individuals, brings this suit under the TCPA, which prohibits unsolicited telemarketing

23   calls to cellular telephones. On behalf of the Class, Plaintiff seeks an injunction requiring

24   Defendant to cease all unauthorized calling activities and an award of statutory damages to the

25   class members, together with costs and reasonable attorneys’ fees.
26                                   CLASS ACTION ALLEGATIONS

27
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 1          31.     Plaintiff brings this action in accordance with Federal Rule of Civil Procedure

 2   23(b)(2) and Rule 23(b)(3) on behalf of itself and a Class defined as follows:

 3          Autodialed Class: All persons in the United States who (1) from the date four years
            prior to the filing of this Complaint through the date notice is sent to the Class; (2)
 4          Defendant caused to be called; (3) on the person’s cellphone; (4) for the same
            purpose as Defendant called Plaintiff; (5) using the same equipment that was used
 5          to call the Plaintiff, and (6) for whom Defendant claims it obtained prior express
            consent in the same manner as Defendant claims it obtained prior express consent
 6          to call the Plaintiff.
 7
            32.     The following people are excluded from the Class: (1) any Judge or Magistrate
 8
     presiding over this action and members of their families; (2) Defendant, Defendant’s subsidiaries,
 9
     parents, successors, predecessors, and any entity in which the Defendant or their parents have a
10
     controlling interest and their current or former employees, officers and directors; (3) persons who
11
     properly execute and file a timely request for exclusion from the Class; (4) persons whose claims
12
     in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
13
     counsel and Defendant’s counsel; and (6) the legal representatives, successors, and assignees of
14
     any such excluded persons. Plaintiff anticipates the need to amend the class definitions following
15
     a period of appropriate discovery, including discovery regarding Defendant’s dialing equipment,
16
     do not call practices, purpose for calling, and any supposed method for obtaining prior express
17
     consent.
18
            33.     Numerosity: The exact number of members within the Class is unknown and not
19
     available to Plaintiff at this time, but individual joinder is impracticable. On information and
20
     belief, Defendant has placed telemarketing calls to thousands of consumers who fall into the
21
     defined Class. The number of members of the Class and class membership can be identified
22
     through objective criteria, including Defendant’s phone records.
23
            34.     Typicality: Plaintiff’s claims are typical of the claims of other members of the
24
     Class in that Plaintiff and the members of the Class sustained the same legal injuries and damages
25
     arising out of Defendant’s uniform wrongful conduct. If Plaintiff has an entitlement to relief, so
26
     do the rest of the Class Members.
27
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 1          35.     Adequate Representation: Plaintiff will fairly and adequately represent and

 2   protect the interests of the Class and has retained counsel competent and experienced in complex

 3   class actions, including class actions under the TCPA. Neither Plaintiff nor its counsel has any

 4   interest in conflict with or antagonistic to those of the Class, and Defendant has no defenses

 5   unique to Plaintiff.

 6          36.     Commonality and Predominance: There are questions of law and fact common

 7   to the claims of Plaintiff and the Class, and those questions will drive the litigation and

 8   predominate over any questions that may affect individual members of the Class. Common
 9   questions for the Class include, but are not necessarily limited to the following:

10                  (a)     Whether Defendant’s conduct violated the TCPA;

11                  (b)     Whether the calls were made on behalf of Defendant and/or whether

12          Defendant knew about, approved, or benefitted from the calls;

13                  (c)     Whether Defendant had prior express consent to place the calls;

14                  (d)     Whether the calls were made using an ATDS;

15                  (e)     Whether Defendant repeatedly called consumers after the consumers asked

16          that the calls stop; and

17                  (f)     Whether Defendant’s conduct was willful or knowing such that members

18          of the Class are entitled to treble damages.

19          37.     Conduct Similar Towards All Class Members: By committing the acts set forth
20   in this pleading, Defendant has acted or refused to act on grounds substantially similar towards all

21   members of the Class so as to render certification of the Class for final injunctive relief and

22   corresponding declaratory relief appropriate under Rule 23(b)(2).

23          38.     Superiority & Manageability: This case is also appropriate for class certification

24   because class proceedings are superior to all other available methods for the fair and efficient

25   adjudication of this controversy. Joinder of all parties is impracticable, and the damages suffered
26   by the individual members of the Class will likely be relatively small, especially given the burden

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 1   and expense of individual prosecution of the complex litigation necessitated by Defendant’s

 2   actions. Thus, it would be virtually impossible for the individual members of the Class to obtain

 3   effective relief from Defendant’s misconduct. Even if members of the Class could sustain such

 4   individual litigation, it would still not be preferable to a class action, because individual litigation

 5   would increase the delay and expense to all parties due to the complex legal and factual

 6   controversies presented in this Complaint. By contrast, a class action presents far fewer

 7   management difficulties and provides the benefits of single adjudication, economies of scale, and

 8   comprehensive supervision by a single Court. Economies of time, effort and expense will be
 9   fostered and uniformity of decisions ensured. Also, there are no pending governmental actions

10   against Defendant for the same conduct.

11                                   FIRST CAUSE OF ACTION
                                   Violation of 47 U.S.C. § 227, et seq.
12                           (On behalf of Plaintiff and the Autodialed Class)
13           39.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
14           40.     Defendant made or caused to be made calls to Plaintiff’s and the other Autodialed
15   Class Members’ cellphones.
16           41.     These calls were made using equipment that had the capacity to store or produce
17   telephone numbers using a random or sequential number generator, to receive and store lists of
18   phone numbers, and to dial such numbers, en masse, without human intervention. The telephone
19   dialing equipment utilized by Defendant, also known as a predictive dialer, dialed numbers from a
20   list, or dialed numbers from a database of telephone numbers, in an automatic and systematic
21   manner. Defendant’s autodialer disseminated information en masse to Plaintiff and other
22   consumers and is an ATDS under the TCPA.
23           42.     The calls were made by MSC for telemarketing purposes, specifically to apprise
24   Plaintiff and others of the availability of credit/debit card processing services.
25           43.     Neither Plaintiff nor any other consumer ever provided prior express consent under
26   the TCPA to be called by or on behalf of MSC.
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 1          44.     As a result of Defendant’s unlawful conduct, Plaintiff and the other members of

 2   the Autodialed Class suffered actual damages and, under section 47 U.S.C. § 227(c)(5), Plaintiff

 3   and each member of the Autodialed Class are each entitled to receive up to $500 in damages for

 4   each violation of 47 C.F.R. § 64.1200.

 5          45.     Should the Court determine that Defendant’s conduct was willful and knowing, the

 6   Court may, pursuant to Section 227(c)(5), treble the amount of statutory damages recoverable by

 7   Plaintiff and the other members of the Autodialed Class.

 8          46.     Plaintiff and the Autodialed Class members are also entitled to incidental
 9   injunctive relief and corresponding declaratory relief as necessary to prevent their future receipt

10   of Defendant’s unlawful calls.

11
                                          PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff Abante Rooter and Plumbing, on behalf of itself and the Class,
13
     prays for the following relief:
14
            A.      An order certifying the Class as defined above, appointing Plaintiff as the
15
                    representative of the Class, and appointing its counsel as Class Counsel;
16
            B.      An order declaring that Defendant’s actions, as set out above, violate the TCPA;
17
            C.      An injunction requiring Defendant to cease all telemarketing calls to cellphones
18
                    whose owners/users who haven’t consented, together with a declaration that
19
                    Defendant used an ATDS in violation of the TCPA;
20
            D.      An award of actual monetary loss from such violations or the sum of five hundred
21
                    dollars ($500.00) for each violation, whichever is greater all to be paid into a
22
                    common fund for the benefit of the Plaintiff and the Class Members;
23
            E.      An award of trebled damages if willful or knowing violations are shown;
24
            F.      An award of reasonable attorneys’ fees and costs to be paid out of the common
25
                    fund prayed for above; and
26
            G.      Such other and further relief that the Court deems reasonable and just.
27
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 1                                            JURY DEMAND

 2         Plaintiff requests a trial by jury of all claims that can be so tried.

 3   Dated: December 4, 2019                       Abante Rooter and Plumbing, individually and on
                                                   behalf of all others similarly situated,
 4
                                                   By: /s/ Steven L. Weinstein
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14

15                                                 Counsel for Plaintiff and the Putative Class
                                                   *pro hac vice application to be filed
16

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